                    IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

JASON WILLIAMS,

       Plaintiff,                                    Case No. 5:19-cv-00475-BO

vs.
                                                NOTICE OF APPEARANCE
AT&T MOBILITY, LLC,

       Defendant.


      NOTICE IS HEREBY GIVEN that Phillip A. Harris, Jr. of the firm Kilpatrick

Townsend & Stockton LLP hereby appears as counsel for Defendant AT&T Mobility,

LLC (“Defendant”), in the above-referenced proceeding.

      Respectfully submitted this the 2nd day of April, 2020.

                                KILPATRICK TOWNSEND & STOCKTON LLP

                                /s/ Phillip A. Harris, Jr.
                                Phillip A. Harris, Jr. (N.C. State Bar No. 39740)
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                            CERTIFICATE OF SERVICE

      I hereby certify that on date set out below, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system which will send

notification of such filing to the following:

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       This the 2nd day of April, 2020.

                                                      /s/ Phillip A. Harris, Jr.
                                                      Phillip A. Harris, Jr.




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